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Rc\~iscd 03/06 wDNY UNlTED STATES DlSTRlCT COURT C “ C,\, .L
WESTERN DlSTRlCT OF NEW YORK 6875)$’3%”§§‘_/% O‘?\`

FORM TO BE USED IN FILING A ClVlL COMPLAINT IN FEDERAL COURT
(Non-Pl'isoner Context) '

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information

1. CAPTloN OF ACTioN 1 8 c \l 6 3 9 7 ll PG

A. Full Nam€ Of Plainfiff! NOTEI ]fmore than one plainti_/]`files this action and seeks informapauperis status, each plainti]Y
must submit an informa pauperis application or the only plaintiffto be considered will be the plaintiffwhofiled an application.

l\/lo\v\éu M~ F)O\S`S om($ l\/lom&u l~/l.l’)qss ollc>!O
TD&\/m`@. E>QSS \

 

 

 

`_`7§-

B. Full Name(S) OfDefendanf(S) NOTE! Pursuant to Fed.R. Cz'v.P. l0(a). the names ofallparties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a S€pal‘ate Sheet, if neCCSSaI'y.

1. F)e vera lOl .`Di‘ l lOuf`d 4.
2. i<\`&i\@ /(`O lt\\r\ 500 D\'\\O\Fé 5.
3. krme TGCR{\ K®l\GU+ 6.

 

 

 

 

2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
A ll of these sections MUST be answered

ldentify the basisforfederal Courtjurisdiction overyour claim, such as that the United States government is aparly to the action, all the `
parties reside in different states and therefore you claim diversityjurisdiction, or the claim presents afederal question or arises under
federal law.

A. Basis of Jurisdiction in Federal Court: 5>`§\€, (‘X“ WY`~€ @Fi“\( pi Y\Q§\&/ i`(\_ dig%l`€s\"'
, ,'> sm 6 \Gm"mls§@m§<m A¢€> C\‘\r\'\ P\“§\J\\l-S \/‘\‘clO<i-_ lon<$> order
d€m\ l&m`. 1
State why the Western District ofNew York is the proper venuefor this action, such as thatyour claim arises in or the defendant resides
in the 17 westernmost counties ofNew York State.

B. Reason for Venue in the Western District:v C lar W\@§ 0 l"l&@l \`(\ l\\(\Ol\(`C)€,QOd\`Xf/{\ N\/S ,
lhwca (`oon~lut la one 139 l’l usean /\cm\iw€‘:) n@\\\\l$.

ldentify the nature ofthis action, such as that it is a civil rights claim, apersonal injury orpersonalproperty (tort) claim, aproperty rights
claim, or whatever it is.

 

C. Nature ofSuit: Cl'\/ll fquJl l'\‘l“§ CiOll'm

 

 

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3. PARTIES TO THlS ACTION
PLAINTIFF’ S INFORNIATION NOTE. To list additionalplaintiffs, use thisformat on another sheet ofpaper

Name ofFiist Plaintiff: 1~/\0\\’\(§\,1\ M ?:GS_S
PresentAddress: 162 /\101\»1 §U€Y\U€.),B?\u)h.l KO/\ 1.'@§1{:1_; 1\)\/ 121le

 

 

Name of Second Plaintiff: `1>;1\/ 111 6 . w 83 _
PresentAddress: g z :PQ <71” 11\/@\ U€) 2 ¢R(ku/S`lf€l_:. H»/ /4/6/7

 

DEFENDANT’ S INFORMATION NOTE. To list additional defendants use thisformat on another sheet ofpaper.
Name of First Defendant: :D€l/6f 611 1€)1 Dll lQ/ 1161

Official Position of Defendant (if 1':elevant)

AddressofDefendant 4371 5 /j)`l‘lUQ/L Q\/€,Y\U€/. 39/1[/[)”)61\/ Mh (f`€$td,tr\/'£>
or ,`1)6\)66@1£1 l)ll lbr/1 115 501 Wirhc£ipl\ro 1431 L:l‘1i1161/br§11 1\/11>@>11€10110

' bop/0
Name of Second Defendant: ':1(1 am 6161\1\ § OY\ b1 1161 (`d

Oft`icial Posit`ion of Defendant (if relevant):

Address ofDefendant: 5 5 1:>631' &\/QY\UQ/ @061\@$1'€)_: 1\1\{ 1116/q

 

 

 

Name of Third Defendant: “1"%1) wm go 1/\6U1_
Ofticial Position of Defendant (if relevant): gm l 1// 0 U/¢ \[d

Address ofDefendant: 311/0- ;H:,':z§:% %CZLQS'L`/` l\-)(/ lig/d O\HC{
walz/131 R<xi\'as~l=er~ N\t )¢)g\o

 

 

 

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
Yes No

If Yes, complete the next Section. NOTE: If you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

1. Name(s) of the parties to this other lawsuit:

Plaintiff(s):

 

 

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Defendant(s):

 

 

2. C ourt (if federal court, name the district; if state couit, name the county):

 

 

Docket or lndex Number:

 

Name of Judge to whom case was assigned:

 

The approximate date the action Was filed:

 

.O`.V‘.*>'.~"

What was the disposition of the case?
ls it still pending? Yes No

If not, give the approximate date it was resolved.

 

Disposition (check those statements which apply):
Dismissed (check the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

Judgment upon motion or after trial entered for

plaintiff
defendant.

 

5. S'I`ATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(2) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief.“ "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper fonn of trial." Siinmons v. Abruzzo, 49 F.Bd 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

 

A. FIRsT CLAIM:'on(da¢eofzhemcidem) Kw\glci\ cfc "/‘131111% &11&€1\@,<1 l ,

defendant (gl`ve the name and (ifrelevant) the position held of each defendant involved in this incident)

 

 

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did the following to me (bricfl_r state What each defendant named above did):

 

 

 

 

 

 

 

 

The federal basis for this claim is:

 

 

State briefly exactly what you want the Couit to do for you. Make no legal arguments and cite no cases or statutes:

 

 

 

B. sECoND CLAIM: on (daze ofrhemadem) IM\\,( m "C/\Ottm§" (1‘1'1@10,1\£_(1

defendant (give the name and (ifrelevant) position held of each defendant involved in this incident)

J

 

 

did the following to me (briefly state what each defendant named above did):

 

 

 

 

 

 

The federal basis for this claim is: ~

 

State briefly exactly what you want the Court to do for you. Make no_ legal arguments and cite no cases or statutes:

 

 

 

If you have additional claims, use the above format to set them out on additional sheets of paper.

 

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CLAlIV|S 1-6
CLA|M 1 08/14/15
0 DEVERALD D|LLARD RETURNED DAV|N BASS BEAT UP, EXH|B|TS A[ Bl C
Federal Basis: Civi| Rights Vio|ation

Requested relief to the Court: Custody of Davin Bass to be returned to |\/|andy Bass

CLA|M 2 08/19/18
0 ROCHESTER POL|CE DEPT l\/IAKES CONTACT W|TH DEVERALD D|LLARD, EXH|B|T D

0 DEVERALD D|LLARD F|LES A PET|T|ON W|TH I\/|ONROE COUNTY FA|\/||LY COURT STAT|NG | WONT
ALLOW HI|V| V|S|T W|TH DAV|N BASS, EXH|B|T F

0 CORRESPONDENCE WAS |\/lADE W|TH RPD |N REGARDS TO DEVERALD D|LLARD INVESTIGATION,
EXH|B|T E

Federa| Basis: Civi| Rights Vio|ation

Requested relief to the Court: Custody of Davin Bass to be returned to I\/|andy Bass

CLA|M 3 09/22/18

0 ON SEPTE|V|BER 22"d, 2015 JUDGE KOHOUT WAS |NFRO|\/|ED |N COURT OF THE ABUSE AND
REQUEST FOR ORDER OF PROTECT|ON WAS i\/|ADE O/B/O DAV|N BASS AGA|NST DEVERALD
D|LLARD. JUDGE KOHOUT GRANTS ORDER FOR DEVERALD D|LLARD TO P|CK DAV|N BASS UP
FROI\/| H|S PRE-K CLASS ON WEDNESDAY SEPTE|V|BER 23'd, 2015, EXH|B|T G

Federa| Basis: Civi| Rights Vio|ation

Requested relief to the Court: Custody of Davin Bass to be returned to l\/|andy Bass

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CLA|M 4 09/29/15

0 DEVERALD D|LLARD F|LES AN ORDER TO SHOW CAUSE, JUDGE KOHOUT GRANTES ORDER TO
SHOW CAUSE BASED ON DEVERALD D|LLARD'S TEST|l\/|ONY, GRANT|NG DEVERALD D|LLRD
TE|V|PORARY CUSTODY OF DAV|N BASS, EXHlBlTS H |

 

0 ALSO GRAT|NG |N ORDER A STAY AWAY FOR STEPHAN BLEDSOE, HOWEVER DEVERALD
D|LLARD NEVER |\/|ET|ONED ANYTH|NG IN REGARDS TO STEPHAN BLEDSOE |N H|S
|N|T|AL PET|T|ON ON 08/19/18, EXH|B|T B

Federa| Basis: Civi| Rights Vio|ation

Requested relief to the Court: Custody of Davin Bass to be returned to |\/landy Bass

CLA|M 5 11/16/15

0 ON NOVE|\/IBER 16th, 2015 JUDGE KOHOUT PUTS I\/|ANDY BASS IN JA|L FOR VlOLAT|NG A COURT
ORDER AND REFUS|NG TO BR|NG DAV|N BASS FOR AN |N CHA|\/|BERS |NTERV|EW. JUDGE
KOHOUT |S AWARE OF THE CHARGES AGA|NST DEVERALD D|LLARD AT TH|S T|l\/|E AND REFUSES
TO CONS|DER THE EVE|DENCE AGA|NST DEVERALD D|LLARD FORM CR||\/||NAL |\/|ATl'ER, EXH|B|TS
A,_B,_C

0 ON NOVEI\/|BER 18th, 2015 JUDGE YAKN|N |N CR||\/||NAL COURT GRANTS ORDERS OF
PROTECT|ON FOR l\/|ANDY BASS AND DAV|N BASS AGA|NST DEVERALD D|LLARD FOR THE
|\/|A`|'I`ER |N CR||\/l|NAL COURT AS DEVERALD D|LLARD |S CHARGED W|TH ENDANGER|NG THE
WELFARE OF A CHlLD, EXH|BT|J

Federa| Basis: Civi| Rights Vio|ation

Requested relief to the Court: Custody of Davin Bass to be returned to l\/landy Bass

CLA|M 6 12/28/15 - CURRENT

DEVERALD D|LLARD AND K|ANA JOHNSON D|LARD HAVE BEEN W|THHOLD|NG AND VlOLAT|NG
l\/|ANDY BASS AND DAVIN BASS R|GHTS TO A CH|LD PARENT RELAT|ONSH|P, W|TH THE ORDERS AND
|\/||STREAT|\/|ENT OF HON. KOHOUT TOWARDS l\/|ANDY BASS AND DAV|N BASS

0 12/28/15, I\/|ANDY BASS F|LED POL|CE REPORT W|TH RPD |N REGARDS TO NOT RECE|V|NG
N|GHTLY OHONE CALLS FORM DAV|N BASS AS ORDERED |N FAl\/||LY COURT ORDER, EXH|B|T L

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04/27/16, |\/lANDY BASS F|LED PET|T|ON |N FA|\/||LY COURT |N REGARSD TO POL|CE REPORT
F|LED ON 12/28/15 AND NU|\/|EROUS T||\/|ES | HAD NOT SPOKEN TO DAV|N BASS AND THE
CONT|NUAL D|SREGARD OF DEVERALD D|LLARD FOR THE RELAT|ONSH|P BETWEEN |\/IANDY BASS
AND DAV|N BASS, EXH|B|T |\/|

07/05/16, COURT ORDER |N REGARDS TO I\/|Y V|S|TAlON T||\/|ES AND DA|LY PHONE CALLS
BETWEEN DAV|N BASS AND |\/|ANDY BASS, AS | HAD NOT RECEV|ED ANY V|S|TAT|ON/CONTACT
W|TH |\/lY SON DAV|N BASS S|NCE NOVE|\/lBER 29, 2015, EXH|B|T N

07/13/16, |\/|ANDY BASS F|LED A PET|T|ON W|TH FA|\/||LY COURT l\/lY A`|'l`EI\/|PTS TO |\/lAKE
CONTACT W|TH DEVERALD D|LLARD AND MY SON DAV|N BASS, ANOTHER WAY DEVERALD
D|LLARD HAS TR|ED TO DA|\/|AGE THE RELAT|ONSH|P BETWEEN DAV|N BASS AND |\/|ANDY BASS,
EXH|B|T O

09/06/16, NUl\/|EROUS T||\/|ES PHONE CALLS WERE NOT PROV|DED, V|S|TS WERE I\/||SSED ON
BEHALF OF DEVERALD D|LLARD, AS WELL AS NEW F|ND|NGS FRO|V| 11/2015 TR|LA TEST|l\/|ONY.
TH|S EV|DENCE WAS PRESENTED TO JUDGE KOHOUT |N TH|S PET|T|ON AND WAS NOT
CONS|DERED BY JUDGE KOHOUT, NE|THER WERE ANY OF THE VlOLAT|ONS THAT D|LLARD
CO|\/l|\/|ITED AGA|NST THE RELART|ONSH|P OF l\/|ANDY BASS AND DAVIN BASS, EXH|BIT P

06/01/17, |\/|ANDY BASS F|LED PET|T|ON |N FA|V||LY COURT REPORT|NG DEVERALD D|LLARD |S
NOT L|V|NG W|TH DAV|N BASS, HE HAS ABANDONED DAVIN BASS W|TH H|S W|FE K|ANA
D|LLARD. |\/|ANDY BASS REQUESTED JO|NT CUSTODY AT TH|S PONT AND REQUESTED K|ANA
D|LLARD HAVE NOT R|GHTS TO l\/|AKE ANY DEC|S|ON |N REGARDS TO DAV|N BASS, ALSO NOTED
THE CONT|NUAL VlOLAT|ONS THAT DEVERALD D|LLARD CO|\/||\/||TS AGA|NST THE RELAT|ONSH|P
BTWEEN l\/|ANDY BASS AND DAV|N BASS, EXH|B|T Q

06/21/17, DEVERALD D|LLARD TEXT |\/|ANDY BASS TO P|CK DAV|N UP FRO|\/| SCHOOL, G|VN|NG
l\/lANDY BASS PER|V||SS|ON TO KEEP DAV|N |N HER HOI\/|E, AND L|FTS THE STAY AWAY ORDER
FROl\/| STEPHAN BLEDSOE, EXH|B|T R

06/21/17, K|ANAN D|LLARD F|LES A PET|T|ON W|TH FA|\/||LY COURT FOR CUSTODY OF DAV|N
BASS AGA|NST DEVERALD D|LLARD AND |V|ANDY BASS, |NFORIV||NG THE COURT THAT DEVERALD
D|LRD |S |N FACT L|V|NG AND WORK|NG |N ANOTHER STATE AND THAT DEVERALD D|LLARD HAS
NOT BEEN L|V|NG W|TH DAV|N BASS S|NCE 03/24/17, WHEN HER HUSBAND ”S|GNED H||\/|
OVER” TO HER. ANOTHER EXAl\/|PLE OF HOW DEVERALD D|LLARD AND K|ANA JOHNSON
D|LLARD HAVE TR|ED TO PREVENT THE CH|LD PARETN RELAT|ONSH|P BETWEEN |\/|ANDY BASS
AND DAV|N BASS, EXH|B|TS

07/07/17, l\/|ANDY BASS F|LED A PET|T|ON |N FA|V|ILY COURT, AS DEVERALD D|LLARD CALLED
THE SU|\/|l\/lER SCHOOL DAV|N BASS WAS ATTEND|NG AND REQUESTED DAV|N BE RETURNED TO
K|ANA JOHNSON D|LLARD, AFTER DAV|N BASS HAD BEEN L|V|NG W|TH l\/|ANDY BASS AND
STEPHNA BLEDSOE SONCE 06/21/17, EXHlBlTT

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07/12/17, DEVERALD D}LLRD SUB|\/||TS AN AFF|DAV|T TO FA|V||LY COURT STAT|N HE L|VES AND
WORKS |N BALT||\/lORE, |\/|D, EXH|B|T U

12/11/17, DEVERALD D|LLARD F|LES A PET|T|ON |N FAI\/||LY COURTLY|NG THAT |\/|ANDY BASS
ALOWED DAV|N BASS CONTACT W|TH STEPHAN BLEDSOE, AND THAT DUR|NG THE SUIV|IV|ER
(2017), l\/|ANDY BASS V|OLATED THE COURT ORDER BY HAV|NG DAVIN BASS L|V|NG W|TH HER
AND STEPHAN BLEDSOE, WHEN DEVERALD D|LLARD STATED |N TEXT l\/|ESSAGE AS WELL AS
VERBALLY TO MANDY BASS AND HER |\/|OTHER THAT DEVERALD D|LLARD WAS G|VN|NG DAV|N
BASS BACK TO l\/|ANDY BASS AND STEPHAN BLEDSOE, EXH|B|T W

|HAVE ALSO PROV|DED COURT |V||NUTES SHOW|NG THAT NU|\/|EROUS T||\/|ES DEVERA D|LLARD
STATES HE W|LL BE CO|\/||NG BACK TO ROCHESTER, AS OF TH|S DATE DEVERALD D|LLARD IS ST|LL
L|V|NG AND WOKR|NG |N BALT|I\/|ORE, IV|D, HAV|NG ABANDONDED H|S SON AND W|TH THE
HELP OF K|ANA D|LLARD HAS CONT|NUALLY D|SREGARDED THE RELAT|ONSH|P BETWEEN
l\/|ANDY BASS AND DAV|N BASS, EXH|BIT Y

Federa| Basis: Civi| Rights Vio|ation

Requested relief to the Court: Custody of Davin Bass to be returned to |V|andy Bass

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6. SUMMARY OF REL]EF SOUGHT
Sl/)n/na)‘ize the relic{/`/'eqnested l)_v_\'oz/ in each statement ofc'lm` v above
"TOW\ Y`€G/Lf 33¥\{`\0\ “H\Q COMch §'O tf\C` \`¢\ ’ I\/ O\'
D§v two O‘\d \w\\/t:) 360 :): O\WW Y\QC\>JQ;`>JHU [ u'>':}z')du
di m\/\\’\ Cj P:(\‘ 166 \'\Q`k"\)<'\’\§/_©o \C\`t”@\\\j€€;j \(3
\v\m\d\/i\?!l$;’> .

 

Do you want a jury trial? Yes No /

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 512 z 6 / g

NOTE: Each plaintijj" must sign this complaint and must also Sigt;

(date)

 

Isubs:?nentp rsfled with the Court.

 

 

Signature(s) of P]aintiff(s)

